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DUPLICATE ORIGINAL

UNITED STATES DISTRICT COURT

FILED
CENTRAL DISTRICT OF CALIF ORNTACERK. US. DISTRICT COURT

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OCT -9 2019
‘CENTRAL DISTRICT OF Gat Fama
“BY D f
Marcus Vaughn, et al )
) . CASENO.: CV 16-03086-AB (AJWx)
Plaintiff(s), ) A
) JURY NOTE #; | ———
VS. ) : ,
) me: \Q. 58am
City of Los Angeles, et al )
)
Defendant(s). )

 

[| The jury has reached a unanimous verdict.
[| Thej Jury advises the Court of the following:

KY The jury requests the following:

 

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Or can Wo ue have unreacon abe force but
be ae fe

 

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Dated: \ 0 A | ( / ae CrQANOALS re. a :
\ _ \foreperson of the Jury” ~~

 
